Case 1:23-cv-02763-RBK-AMD Document 20-1 Filed 07/21/23 Page 1 of 6 PageID: 851




  CARELLA, BYRNE, CECCHI,
  BRODY & AGNELLO, P.C.
  James E. Cecchi
  Kevin Cooper
  5 Becker Farm Road
  Roseland, NJ 07068
  Tel.: (973) 994-1700
  Fax: (973) 994-1744
  jcecchi@carellabyrne.com
  kcooper@carellabyrne.com

  Proposed Liaison Counsel for the Class

  [Additional counsel listed on signature page]

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


 THE ARBITRAGE FUND, Individually                 Case No. 1:23-cv-2763-RBK-AMD
 and on Behalf of All Others Similarly
 Situated,                                        Hon. Robert B. Kugler

                          Plaintiff,              CLASS ACTION

             v.                                   MOTION DAY: August 21, 2023

 THE TORONTO-DOMINION BANK,                       ORAL ARGUMENT REQUESTED
 BHARAT B. MASRANI, KELVIN VI
 LUAN TRAN, and LEO SALOM,

                          Defendants.

 (caption continued on next page)


                  CORPORATE DISCLOSURE STATEMENT
Case 1:23-cv-02763-RBK-AMD Document 20-1 Filed 07/21/23 Page 2 of 6 PageID: 852




 ANDREW AMICARELLI, Individually           Case No. 1:23-cv-3024- RBK-AMD
 and on Behalf of All Others Similarly
 Situated,                                 Hon. Robert B. Kugler

                        Plaintiff,         CLASS ACTION

             v.

 FIRST HORIZON CORPORATION,
 D. BRYAN JORDAN, HOPE
 DMUCHOWSKI, THE TORONTO-
 DOMINION BANK, TD BANK US
 HOLDING COMPANY, BHARAT
 B. MASRANI, KELVIN VI LUAN
 TRAN, and LEO SALOM,

                        Defendants.
Case 1:23-cv-02763-RBK-AMD Document 20-1 Filed 07/21/23 Page 3 of 6 PageID: 853




       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned

 counsel of record for Lead Plaintiff Movant Pentwater Merger Arbitrage Master

 Fund Ltd., PWCM Master Fund Ltd., Pentwater Equity Opportunities Master Fund

 Ltd., Oceana Master Fund Ltd., Pentwater Unconstrained Master Fund Ltd., Crown

 Managed Accounts SPC acting for and on behalf of Crown/PW Segregated

 Portfolio, Investment Opportunities SPC for the account of Investment

 Opportunities 3 Segregated Portfolio, and LMA SPC for and on behalf of the MAP

 98 Segregated Portfolio (together, the “Pentwater Funds”), state that none of the

 Pentwater Funds has any parent corporation, and no publicly held corporation owns

 10% or more of the shares of any of the Pentwater Funds.

 Dated: July 21, 2023                  Respectfully submitted,

                                       CARELLA, BYRNE, CECCHI, BRODY
                                       & AGNELLO, P.C.

                                       By: /s/ James E. Cecchi

                                       James E. Cecchi
                                       Kevin Cooper
                                       5 Becker Farm Road
                                       Roseland, NJ 07068
                                       Tel.: (973) 994-1700
                                       Fax: (973) 994-1744
                                       jcecchi@carellabyrne.com
                                       kcooper@carellabyrne.com

                                       Proposed Liaison Counsel for the Class




                                         1
Case 1:23-cv-02763-RBK-AMD Document 20-1 Filed 07/21/23 Page 4 of 6 PageID: 854




                                    BERNSTEIN LITOWITZ BERGER &
                                    GROSSMANN LLP
                                    Gerald H. Silk (pro hac vice forthcoming)
                                    Mark Lebovitch (pro hac vice forthcoming)
                                    Avi Josefson (pro hac vice forthcoming)
                                    Scott R. Foglietta
                                    1251 Avenue of the Americas
                                    New York, NY 10020
                                    Tel.: (212) 554-1400
                                    Fax: (212) 554-1444
                                    jerry@blbglaw.com
                                    markl@blbglaw.com
                                    avi@blbglaw.com
                                    scott.foglietta@blbglaw.com

                                    SAXENA WHITE P.A.
                                    Maya Saxena (pro hac vice forthcoming)
                                    Lester R. Hooker (pro hac vice forthcoming)
                                    7777 Glades Road, Suite 300
                                    Boca Raton, FL 33434
                                    Tel.: (561) 394-3399
                                    Fax: (561) 394-3382
                                    msaxena@saxenawhite.com
                                    lhooker@saxenawhite.com

                                    -and-

                                    Steven B. Singer (pro hac vice forthcoming)
                                    David J. Schwartz (pro hac vice forthcoming)
                                    Rachel A. Avan (pro hac vice forthcoming)
                                    10 Bank Street, Suite 882
                                    White Plains, NY 10606
                                    Tel.: (914) 437-8551
                                    Fax: (888) 216-2220
                                    ssinger@saxenawhite.com
                                    dschwartz@saxenawhite.com
                                    ravan@saxenawhite.com




                                      2
Case 1:23-cv-02763-RBK-AMD Document 20-1 Filed 07/21/23 Page 5 of 6 PageID: 855




                                    Counsel for Proposed Lead Plaintiff the
                                    Institutional Investors, and Proposed Lead
                                    Counsel for the Class




                                      3
Case 1:23-cv-02763-RBK-AMD Document 20-1 Filed 07/21/23 Page 6 of 6 PageID: 856




                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 21, 2023, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system, which will send a

 notice of electronic filing to all registered users.


                                                 /s/ James E. Cecchi
                                                 James E. Cecchi




                                             4
